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                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

                      REQUEST FOR CHANGE OF ADDRESS

CASE NAME: DONALD LEE DENNIS

CASE NO. 16-66854      JUDGE _CAVENDER       CHAPTER 13

                                  CHANGE FOR

DEBTOR __X___       CREDITOR ______ ATTORNEY _______        (for) Debtor _____
                                                            Creditor _____

NOTE: (For Attorneys Only) IF MORE THAN ONE CASE, PLEASE ATTACH LIST.

EFFECTIVE DATE OF CHANGE:                JULY 31, 2019

BAR I.D. NUMBER:                         762693

NAME:                                 DONALD LEE DENNIS


NEW ADDRESS:        2423 MARTIN LUTHER KING DR APT 2309 ATLANTA, GA 30311



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NAME:                                 DONALD LEE DENNIS

OLD ADDRESS:        2900 LANDRUM DRIVE APT 184 ATLANTA, GA 30311


FURNISHED BY:                         PHILIP LEHMAN

DATE:                                 JULY 31, 2019
